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                                                                                Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   PEORIA DIVISION

ASHOOR RASHO, et al.,                              )
                                                   )
                Plaintiffs,                        )   No. 1:07-CV-1298-MMM-JEH
                                                   )
        v.                                         )   Judge Michael M. Mihm
                                                   )
DIRECTOR JOHN R. BALDWIN, et al.,                  )
                                                   )
                Defendants.                        )

                        PLAINTIFFS’ RESPONSE TO DEFENDANTS’
                            PROPOSED INJUNCTION ORDER

        Defendants’ years-long failure to meet their own promises or to comply with the multiple

court orders to provide constitutional care and treatment to prisoners with mental illness

necessitates that the injunction include appropriate requirements, standards, and safeguards.

Defendants’ proposed order sets out extremely broad and vague requirements, giving unfettered

discretion to the IDOC. The proposed order has no deadlines or even requirements for timeliness,

and fails to respond with urgency to the harms established at the hearings. Defendants’ proposed

order would allow IDOC to continue existing practices that have failed to achieve constitutional

care and are contrary to the most basics professional standards of care. Defendants asked the

Court for time to create a plan and instead they have offered empty words.

        I.      The Relief Ordered Must Include the Detail Necessary To Correct the
                Violations of Federal Rights in Light of the History of Those Violations

        While the Court’s Order for relief must be deliberately narrow to minimize intrusion into

correctional operations, the relief ordered also must be sufficient to fulfill its function of

remedying the violations at hand. Braggs v. Dunn, No. 2:14CV601-MHT, 2018 WL 985759, at

*3 (M.D. Ala. Feb. 20, 2018) (“courts retain a responsibility to remedy constitutional
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violations”); Plata v. Schwarzenegger, No. C01-1351 TEH, 2005 WL 2932253, at *24 (N.D.

Cal. Oct. 3, 2005) (“In fashioning an appropriate remedy, the Court must exercise restraint, using

the least possible power adequate to the remediation of constitutional violations … However, the

Court is not required to restrict its powers to those means that have proven inadequate, or that

show no promise of being fruitful.”) (internal citation omitted).

       In Brown v. Plata, 563 U.S. 493 (2011), the Supreme Court explained that more

expansive relief may be appropriate–even under the PLRA analysis–where supported by

particular findings that relief is necessary in order to cure the violations. “While the order does in

some respects shape or control the State’s authority in the realm of prison administration, it does

so in a manner that leaves much to the State’s discretion … The order’s limited scope is

necessary to remedy a constitutional violation.” Id. at 533 The mandate of “[n]arrow tailoring

requires a fit between the remedy’s ends and the means chosen to accomplish those ends … The

scope of the remedy must be proportional to the scope of the violation, and the order must extend

no further than necessary to remedy the violation.” Id. at 531.

       Where the extent of the violations, and the prior efforts to address them, are complex, so

too must be the resulting relief. Indiana Protection and Advocacy Services Com’n v.

Commissioner, Indiana Dept. of Correction, 2012 WL 6738517, *24 (S.D. Ind., Dec. 31, 2012)

(“[t]he remedy may be as complex as the evidence of the violation”). In order to craft effective

relief to cure the constitutional violations, therefore, courts must take into account any relevant

history of non-compliance. Benjamin v. Schriro, 370 Fed.Appx. 168, 171 (2d Cir. 2010)

(unpublished) (“The needs-narrowness-intrusiveness requirement of the PLRA notwithstanding,

we find that nearly a half-decade of untruthfulness, non-compliance and inaction constitutes




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sufficient justification for the intrusiveness of a subsequent order to compel compliance with an

original order entered pursuant to the PLRA that has been ignored.”).

       Defendants have had many opportunities over many years to develop a functional mental

health treatment system but time and again have failed to do so. None of the issues raised in

these proceedings are new. They are the same core systemic problems that this case—through

litigation, three independent experts, agreed orders, the Settlement Agreement, and a preliminary

injunction—has sought to address for the last decade. That history cannot be ignored when

determining the scope of relief needed to correct the violations.

       This case is now well past the point of the generalities contained in Defendants’ proposal.

Westefer v. Neal, 682 F.3d 679 (7th Cir. 2012), on which their memorandum relies, once again

provides no authority to limit the scope of this Court’s injunction to the vagueness proposed by

Defendants here. In any event, this Court has done exactly what the Seventh Circuit in Westefer

said should be done: give Defendants an opportunity to develop a plan to remedy the

constitutional violations detailed in this Court’s Order. Defendants have completely failed to

fulfill this responsibility. Defendants have submitted only broad goals, with no deadlines, and no

hint of how they intend to achieve these goals. Defendants’ proposed injunction would be

completely unenforceable, as it contains no objective standards at all.

       II.     Proposed Language for the Injunction to Address the Constitutional
               Violations

       Plaintiffs request that the Court order include firm requirements for constitutional care in

each of the areas at issue. Plaintiffs set forth proposed requirements for the injunction order in

each of the areas of deficiencies. Plaintiffs then provide for other related requirements, including

for Defendants’ implementation plan, and for ongoing reporting and monitoring.




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        A.      Staffing

        The Court’s decision found that inadequate staffing is the root cause of the violations at

issue and has been a persistent problem for many years. Defendants’ proposal utterly fails to

address this root problem. Instead, it commits Defendants only to adopt “a staffing plan” to

provide the care which – in the Department’s own professional judgment – is necessary.

        We have been here twice before. Defendants provided a staffing plan in 2014 and a

supplemental plan in July 2018, which, taken together, were to provide sufficient staffing to

provide a constitutional level of care. These plans have never been implemented. According to

IDOC’s October 2018 report, it still has not achieved the required staffing levels and, in fact, has

lost clinical staff since the August trial.

        The injunction should include the following requirements:

             1) Within six months of this Order, Defendants shall have hired additional staff
                sufficient to meet the staffing requirements of Defendants’ 2014 Remedial
                Staffing Plan.

             2) Within nine months of this Order, Defendants shall hire and maintain additional
                staff sufficient to meet the staffing requirements of Defendants’ July 2018 staffing
                plan.

             3) Within 12 months of this Order, Defendants shall hire and maintain sufficient
                staff to address constitutional violations identified in this Order.

        B.      Treatment of Class Members in Crisis

        Instead of a system to provide for the acute care needs of those whose mental health has

decompensated, Defendants’ proposal would continue IDOC’s reliance on “crisis watches” that

operate contrary to correctional and community mental health standards of care. Defendants’

proposed order entirely fails to address the constitutional violations found by the Court: the

failure to provide acute mental health treatment to those in crisis Instead, it calls for the




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continued the seclusion for days, weeks or even months of those in acute crisis or distress from

decompensation of their mental health. This brutal and merciless practice must stop.

       Dr. Stewart and Dr. Renzi testified that the isolation inherent in “crisis watches” is

dangerous to mental illness. Standard mental health practices for treatment of people in acute

distress strictly limit the use of crisis watches and other forms of seclusion to short and discrete

periods of intervention. That evidence was uncontradicted. Consistent with those well accepted

standards of care, the injunction should include requirements to achieve three goals with regard

to those in crisis: (1) provide acute mental health treatment; (2) limit the use of isolation that is

central to the current “crisis watch” practice; and (3) require that, where used, crisis watches be

conducted in a manner consistent with correctional and community mental health standards for

the use of seclusion.

    1) IDOC shall provide acute mental health treatment to those who are psychotic, clinically
       unstable (including acutely suicidal or at imminent risk of self-harm), or waiting for
       placement into a higher level of care treatment facility/unit.

           a) Goals of the acute treatment program must include controlling psychotic
              symptoms, stabilizing the patient, keeping the patient safe, and improving
              activities of daily living.1

           b) Mental health staff should conduct daily assessments of each patient and order the
              needed therapeutic interventions, coordinate patient care, and recommend changes
              to the level of care and/or placement.

           c) Patients should have increased monitoring and attention, individual and group
              therapies, and psychosocial activities.

           d) Psychotropic medications should be evaluated, made available, and managed as
              clinically indicated.

           e) Housing should be in a safe and therapeutic environment conducive to symptom
              stabilization and maintenance of good personal hygiene.2


1
 Activities of daily living generally refer to ambulation, bathing, dressing, feeding and toileting,
as well as decision-making and social interaction. Ex. A, MH-G-02 (Definitions)

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    2) IDOC shall discontinue the current the isolation of persons in need of acute mental health
       treatment including through the current practice of placing people on “crisis watch” (e.g.,
       strip cells).3

    3) Crisis watches should only be used for patients exhibiting behavior dangerous to self or
       others as a result of mental illness and may only be ordered upon a finding by an
       appropriately trained and licensed mental health professional that no other less restrictive
       treatment is appropriate. When used, crisis watches are to be employed for the shortest
       duration possible.4

    4) No Class Member shall be held on a crisis watch for more than 48 hours unless they
       receive care that includes at a minimum:

                   a) Certification in writing of the need for the placement, consistent with the
                      above requirements, by appropriately trained and licensed supervisory
                      staff as designated by the IDOC, including a determination as to whether
                      any other mental health treatment unit placement is appropriate.

                   b) Assessment upon admission, by the multidisciplinary treatment team, to
                      initiate aggressive mental health treatment designed to stabilize the
                      patient.

                   c) Intensive mental health interventions as clinically appropriate, including
                      counseling, group treatment, and psychotropic medication.

                   d) Daily assessment of patient progress and reevaluation of treatment
                      interventions.



2
 The requirements set forth in Paragraph 1 entirely from the National Commission on
Correctional Health Care (NCCHC) Standards on mental health programs for acute treatment.
Ex. A, MH-G-02, Mental Health Programs and Residential Units, p. 85-86 (requiring the
provision of acute care separate from the use of seclusion and/or inpatient psychiatric
hospitalization). These requirements are classified as “essential” in NCCHC’s accreditation
program. Acute treatment other than of the use of seclusion (crisis watches) for those whose
mental illness has decompensated is well established in correctional mental health practices.
3
  See, e.g. Ex. B, Oxford Textbook of Correctional Psychiatry, Chapter 22, Levels of Care,
Jeffrey L. Metzner and Kenneth L. Appelbaum (setting out standards for crisis treatment
functions in a “safe and therapeutic environment as characterized by supportive clinical
interventions and a nonpunitive approach … routine use of strip cell status (e.g., no personal
property, use of suicide smock, no out-of-cell time) are examples of nontherapeutic mileus.”).
4
  Ex. A, NCCHC Standards, Restraint and Seclusion, MH-1-01, p.109 (an “essential” component
to a treatment system under the NCCHC standards).
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                   e) Out-of-cell time for confidential counseling and groups, psychiatric care,
                      therapeutic activities, and recreational or leisure activities.

                   f) For anyone who does not stabilize sufficiently to be discharged from crisis
                      watch, the treatment team must establish a plan to provide a higher level
                      of care and assess whether transfer to a higher level of care facility. If the
                      team finds a higher level of care facility is not required, it must explain in
                      writing why it is not appropriate and how the team will provide the care
                      needed at the existing facility. Prisoners who have multiple crisis watch
                      placements within a six-month period should be considered for psychiatric
                      hospitalization.

     5) Until the IDOC has demonstrated compliance with the treatment requirements set forth
        above, no Class Member shall be held on crisis watch for more than 48 hours.

C.      Treatment of Class Members in Control Units

     Defendants’ proposal ignores the demonstrated harms being done to Class Members in

segregation by the multiple failures to provide adequate care. Defendants’ proposal draws on the

language of the preliminary injunction, but it removes entirely the requirement that mental health

staff determine whether Class Members in segregation have decompensated and require removal

from the unit; minimum requirements for the continuation of treatment in segregation; the

requirement that treatment plans protect against decompensation; minimum timelines for rounds

or other assessments; and pharmacological care.

     To address the deficiencies in Defendants’ Proposed Order, Plaintiffs propose the following:

     1) Mental Health Professionals shall assess any class member promptly upon initial
        placement in administrative detention, disciplinary segregation, or other similar
        restrictive status (collectively referred to as Control Unit). The purposes of the
        assessment shall include: (a) to determine whether the patient has decompensated and
        should be removed from the Control Unit; and (b) to provide a baseline against which
        any future decompensation or deterioration of the patient’s mental status can be
        measured. Such review shall be documented in the patient’s mental health records in a
        manner that facilitates access and review by subsequent treatment staff.

     2) No Class Member shall be held in a Control Unit for more than sixteen days unless they
        receive care that includes at a minimum:

            a) Timely review and updates of their mental health treatment plan to reflect their
               change of placement and address the impact of that setting on their mental health

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                condition in an effort to protect them from decompensation. At a minimum, the
                treatment specified in the individual’s prior treatment plan must continue; no
                person in segregation should receive less than the treatment they received prior to
                segregation. Treating MHPs and the Warden shall coordinate to ensure that
                mentally ill prisoners receive the services required by their treatment plan.
           b)   Rounds in every section of each Control Unit at least every seven days by
                appropriate mental health staff.
           c)   Pharmacological treatment (if applicable).
           d)   Participation in multidisciplinary team meetings to the extent clinically
                appropriate.
           e)   MHP or mental health treatment team recommendations to post-segregation
                housing.
           f)   Structured and unstructured out of cell time sufficient to protect against
                decompensation. Structured out of cell time includes therapeutic, educational and
                recreational activities that involve active engagement by their participants for the
                duration of the activity.

   3) Until the IDOC has demonstrated compliance with the treatment requirements set forth
      above, no Class Member shall be held in any Control Unit for longer than 60 days.

   4) Mental health staff shall assess class members in Control Units to determine if changes
      are required to their level of care, placement, or privilege restrictions to protect them
      against decompensation. The psychologist administrator at each facility, or their
      equivalent, will have the authority to remove a person from segregation based on clinical
      of decompensation.

   D. Medication Management

   Similarly, Defendants’ proposed order for medication management fails to address central

violation in this area – the failure of psychiatric staff to properly and timely evaluate and follow-

up on patients taking psychiatric medications. Instead Defendants seek to limit psychiatric care,

by prohibiting psychiatric providers from seeing their patients at intervals “not to exceed

established policy.” (Def. Paragraph 5(c).) The proposal does not address the many problems

identified in these proceedings as causing serious harms to Class Members. The injunction

should include:

   1) Class members who are prescribed psychotropic medication shall be evaluated by a
      psychiatric provider at regular intervals consistent with constitutional standards.

   2) IDOC shall accomplish the following in psychiatric services:


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            a) Administer medications to all class members in a manner that provides reasonable
               assurance that prescribed psychotropic medications are actually being delivered to
               and taken by the offenders as prescribed.

            b) Regularly chart medication efficacy and side effects, including both subjective
               side effects reported by the patient.

            c) Take clinically appropriate steps to ascertain and test for potential side effects
               from medications and consult with the patient concerning potential medication
               side effects and alternatives.

            d) Timely perform lab work for these side effects and timely reporting on results.

            e) Provide class members for whom psychotropic drugs are prescribed with timely
               explanations from appropriate medical staff about what the medication is
               expected to do, what alternative treatments are available, and what in general are
               the side effects of the medication; and have an opportunity to ask questions about
               this information before they begin taking the medication.

            f) Clinical follow-up with class members who experience medication
               noncompliance as necessary to resolve the non-compliance including by the
               psychiatric provided as clinically appropriate.

       E.      Timely Evaluations and Treatment Planning

       Defendants’ proposals on evaluations and treatment planning fail to address the

violations found by the Court. For example, Defendants do not include any timeline for initial

evaluations, without which necessary treatment cannot begin. The Defendants’ proposals on

treatment planning explicitly undermine the Settlement’s requirements for collective treatment

planning. Given the testimony on the enormously beneficial and important function of collective

treatment planning, it should be expressly included in this Order. However, if the Court

determines otherwise, at a minimum, the Order should remain silent on who prepares the

treatment plans and instead address the substantive requirements for individualized treatment and

timely reviews. The Order should require the following:

       1) Mental health evaluations shall be conducted in a timely manner to ensure that
          individuals in need of treatment, or re-evaluation of existing treatment, are evaluated


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            without undue delay. Evaluations shall occur no less than 14 days from the time when
            the need for the evaluation is known by staff, and sooner if clinically indicated.

       2) All class members shall have a treatment plan that is individualized and particularized
          based on the patient's specific needs and updated regularly as clinically appropriate.

            a) The treatment plans will include long and short term objectives for the individual,
               with a schedule of treatment interventions to be utilized to achieve those goals.

            b) Treatment plans shall be reviewed and updated at regular intervals as clinically
               necessary.

            c) Treatment plan updates will include updating goals as appropriate; assessing the
               individual’s response to treatment and progress on the treatment goals, with the
               treatment interventions taken; and updating the specific interventions to be taken
               or continued accordingly.

            d) Treatment plan will be collectively updated and reviewed by the treatment team
               with the collaboration of the patient to the fullest extent possible.

       F. DEFENDANTS SHOULD BE REQUIRED TO SUBMIT A DETAILED
          IMPLEMENTATION PLAN TO ACHIEVE THE REQUIREMENTS OF THIS
          ORDER

       Defendants should be required to submit an implementation plan within forty-five days of

this Order that sets forth in detail how it plans to achieve the results required above. For each of

the requirements of this Order, Defendants’ plan should provide: (1) the process and procedures

that will be utilized to achieve compliance; (2) timelines for interim steps and the completion of

each requirement; (3) qualitative and quantitative measureable outcomes for the achievement of

each requirement.

       As to the staffing requirements, which Defendants have failed to achieve for at least the

last four years, Defendants’ plan shall include the following:

       1)      A comprehensive assessment of its staffing needs to implement the requirements
               of this Order in light of its other staffing obligations and hiring requirements. The
               needs assessment should be conducted in consultation with the Monitor.

       2)      The assessment shall include:
               a) The necessary ratios of clinical staff for the relevant populations within the


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                    mental health caseload.
               b)   The necessary number of mental health staff by facility population and
                    timelines for such hiring.
               c)   The number of security or correctional staff, including the ratio of officers to
                    patients needed to provide the services required in treatment units.
               d)   The timelines for hiring, including specific interim staffing levels from now to
                    the staffing deadlines.
               e)   How facilities will operate their mental health services in the interim with
                    insufficient staffing levels.
               f)   How these staffing requirements impact or relate to staffing of Defendants’
                    other duties in the provision of mental health care that do not fall within the
                    scope of this Order.

       3)      A plan to improve retention of current mental health staff, including an IDOC
               conducted assessment of WHS and IDOC mental health staff turnover.

As to the treatment of Class Members who are in acute mental health crisis, Defendants’ plan
shall also include the following.

        4) Details of how IDOC will provide acute mental health care, including:

               a) Defined goals with final and interim timelines for achieving those goals, and
                  qualitative and quantitative measures for meeting the timelines set forth.
               b) The location at which care will be provided, for both housing and out-of-cell
                  activities.
               c) Staffing ratio calculations by clinical staff and population for the treatment
                  program.
               d) The provision of ongoing staffing needs assessments or planning to address
                  the number of patients, the severity of their illness, and the number of mental
                  health staff to manage the level of care for each.

    5) A detailed plan as to how IDOC will limit the use of isolation and seclusion in the current
       crisis watch practices. The plan must include:

               a)    How IDOC will insure that crisis watches are only used for patients
                     exhibiting behavior dangerous to self or others as a result of mental illness,
                     including timelines and staffing requirements for initial assessments of those
                     in crisis and ongoing assessments of those placed on crisis watches. 5

5
  Correctional and community mental health standards provide for face-to-face assessment by
qualified clinical staff before an order allowing the use of seclusion and before any renewals of
that order. For example, the Illinois Mental Health Code prohibits seclusion for more than two
hours unless a physician or registered nurse with supervisory responsibilities personally
examines the patient within that 2-hour window and confirms, in writing, that seclusion does not
pose an undue risk to the patient’s health. See 405 ILCS 5/2-109(a). See also, Ex. A, NCCHC
Standards, MH-1-01, p.110 Compliance Indicator 1(b) (“in each case, use is authorized by a
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               b)    How IDOC will insure that crisis watches are not used unless no other less
                     restrictive treatment is appropriate, including a description of what less
                     restrictive treatment options may be considered and utilized in crisis
                     intervention.

               c)    How IDOC will insure that crisis watches are limited to the shortest duration
                     possible. 6

               d)    How the location of crisis watch cells will provide a supportive and
                     therapeutic environment with clinical staff coverage to facilitate the goal of
                     stabilizing and treating the individual to facilitate discharge out of crisis
                     watch.7

               e)    Re-assessment of IDOC’s policies relating to hygiene and property
                     allowances for those on crisis watches or otherwise with acute mental health
                     needs to insure that they comply with modern standards of correctional
                     mental health care.




physician or other qualified mental health professional where permitted by law, after reaching
the conclusion that no other less restrictive treatment is appropriate”); Ex. C, Jeffrey L. Metzner,
MD, et al., Resource Document on the Use of Restraint and Seclusion in Correctional Mental
Health Care, 35 J. Am. Acad. Psychiatry Law 4, 417, at 420, 2007 (initial face-to-face
assessment by a licensed professional, appropriately trained in the use of seclusion, within four
hours of the actual seclusion.).
6
  See e.g., Ex. A, NCCHC Standards, MH-1-01, p.111 (“when seclusion is used, “it is employed
for the shortest time possible in keeping with current community practice.”); 405 ILCS 5/2-
109(d) ( allowing a seclusion order up to sixteen hours, if certain requirements are met, but after
the 16 hours expires the patient cannot be put in seclusion again during the next 48 hours without
written authorization from the facility director).
7
  Best practices in correctional mental health recommend that seclusion occur in the health care
unit whenever possible. However, wherever the physical placement of a crisis watch, the
placement should be characterized as a supportive and therapeutic environment. Ex. A, NCCHC
Standard, MH-1-101, p. 110-11; Ex. B, Chapter 22, Levels of Care (crisis watch units must
“provide for observation (e.g., suicide watch), diagnosis, and treatment functions in a safe and
therapeutic environment as characterized by supportive clinical interventions and a nonpunitive
approach.”); Ex. C, Jeffrey L. Metzner, MD, et al., Resource Document on the Use of Restraint
and Seclusion in Correctional Mental Health Care, 35 J. Am. Acad. Psychiatry Law 4, 417, 2007.




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   6) A detailed plan as to how IDOC will provide the care and treatment to those who are
      placed on crisis watches, including:

                  a) Defined goals with final and interim timelines for achieving those goals,
                     and qualitative and quantitative measures for meeting the timelines set
                     forth.
                  b) The location that care will be provided, for both housing and out-of-cell
                     activities.
                  c) Staffing ratio calculations by clinical staff and population for the treatment
                     program.
                  d) IDOC will conduct regular reviews of patterns of crisis watch placements
                     for the purpose of assessing trends, programs and procedures to find ways
                     to reduce reliance on the crisis intervention system.

       G. Other Requirements relating to the PLRA findings and Ongoing reporting and
          monitoring of compliance.

       In addition to the substantive terms, the injunction should make the appropriate findings

consistent with the Prison Litigation Reform Act (PLRA) and include requirements for regular

reporting by Defendants, ongoing monitoring, and access by Plaintiffs’ counsel.

       1) The relief ordered herein addresses the findings of this Court as to the scope and
          nature of the constitutional violations and is supported by the evidence presented at
          the various hearings. The relief extends no further than is necessary to correct the
          violations of federal rights found by the Court, and is narrowly drawn and least
          intrusive means to correct those violations. (18 U.S.C.A. § 3626(1)(A).)

       2) Beginning 30 days from this Order, Defendants shall provide monthly reports of its
          actions to comply with each section of this Order to the Court, the Monitor, and
          Plaintiffs. The report shall describe Defendants’ progress with compliance on each of
          the terms and the measureable outcomes identified by Defendants’ plan on each such
          term; identify any challenges or barriers to achieving compliance in the timeframe
          given; and provide the summary data related to each category of violations addressed
          by this Order. As to hiring, the monthly reports must include total staffing levels (by
          facility and clinical position) and numbers of new hires, new FTE staff (hired and
          started); and turnover (by facility and clinical position). For any facility that remains
          understaffed for more than 30 days, the Report should include a description of
          specific interim measures and long term plan for that facility’s mental health staffing.

       3) On a regular basis (no less than every 60 days), Defendants shall provide within its
          monthly report the results of its own quality assurance audit corresponding to the
          provisions of this Order. These results shall include an accompanying certification of
          Defendants’ CQI Manager of whether compliance has been reached with Defendants’
          quality assurance audit requirements.


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   4) The appointed independent monitor, Dr. Pablo Stewart, will monitor the Defendants’
      compliance with this Order consistent with the monitor’s existing duties and function.

   5) Plaintiffs’ counsel shall continue to be entitled to access information relating to the
      provision of mental health treatment and conditions for Class Members, to tour those
      portions of each facility where mentally ill prisoners are housed and treated, and to
      talk to class members at their cells, after providing a minimum of forty-eight (48)
      hours notice to IDOC. Counsel shall also be permitted to have confidential legal
      visits with members of the plaintiff class identified during such cell front visits. All
      such visits will be subject to reasonable security measures and the subject facility’s
      legal visit scheduling process so that they will not interfere with either the
      confidentiality of such visits or the operations of the IDOC facility in which the
      offender is housed. Nothing in this subsection shall be construed to limit any right of
      access Plaintiffs’ counsel may otherwise have pursuant to statute or otherwise.

                                                 RESPECTFULLY SUBMITTED,



                                         By:       /s/ Amanda Antholt
                                                 One of the attorneys for Plaintiffs

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